              IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
                   Case No. 1:17-cv-00240-MR-DLH

JOSEPH CLARK, On Behalf of
Himself and All Others Similarly
Situated,

                           Plaintiff,       DEFENDANTS’ RESPONSE TO
                                            PLAINTIFF’S OBJECTION TO
vs.                                          THE MAGISTRATE JUDGE’S
                                               MEMORANDUM AND
HARRAH’S NC CASINO                              RECOMMENDATION
COMPANY, LLC, d/b/a
HARRAH’S CHEROKEE CASINO
RESORT and d/b/a HARRAH’S
CHEROKEE VALLEY RIVER
CASINO AND HOTEL, and
BROOKS ROBINSON,

                           Defendants.

      Pursuant to Federal Rule of Civil Procedure 72(b) and Local Rule 72.1,

Defendant Harrah’s NC Casino Company, LLC, d/b/a Harrah’s Cherokee Casino

Resort and d/b/a Harrah’s Cherokee Valley River Casino and Hotel, (“Defendant

Harrah’s”) and Defendant Brooks Robinson (“Defendant Robinson”) (sometimes

collectively “Defendants”) hereby timely file and serve this Response to Plaintiff’s

Objection to the Report and Recommendation of the Magistrate Judge on

Defendants’ Motions to Dismiss, Doc. 55 (“Plaintiff’s Objection”).




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                                INTRODUCTION

      The Memorandum and Recommendation’s proposed findings include that

(1) Plaintiff’s actual employer, Tribal Casino Gaming Enterprise (“TCGE”), is a

necessary party under Rule 19(a) of the Federal Rules of Civil Procedure to this

action involving “workplace claims;” (2) TCGE cannot be joined as a party to this

case because it is a wholly owned enterprise of the Eastern Band of Cherokee

Indians (“EBCI”) entitled to tribal sovereign immunity; and (3) this action should

not proceed without TCGE because it is also an indispensable party under Rule

19(b). Doc. 53, pp. 6-12.

      Plaintiff does not dispute or object to the Magistrate Judge’s proposed

finding that TCGE cannot be joined as a party because it is entitled to sovereign

immunity. See Doc. 55, pp. 4-5, n. 1. Plaintiff, however, does object to the

Magistrate Judge’s first and third findings noted above, that TCGE is a necessary

and indispensable party to this litigation under Rule 19 whose absence requires

dismissal under Rule 12(b)(7). See generally Doc. 55.

      Plaintiff contends the Magistrate Judge erred with regard to these findings

for two primary reasons: (1) Defendants and the Magistrate Judge allegedly failed

to identify the “purported interests” of TCGE which would be impaired by

permitting this action to proceed without it as a defendant and (2) Defendants and

the Magistrate Judge allegedly failed to properly consider all applicable factors



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under the Rule 19(b) indispensable party analysis. Doc. 55, pp. 2-3. Plaintiff’s

Objection misreads the Memorandum and Recommendation, and further,

misapprehends or ignores Defendants’ positions with respect to TCGE’s interests

in this litigation that make it a necessary and indispensable party. As shown

below, Defendants have satisfied their burden, and the Magistrate Judge’s analysis

on these issues is sound and should be adopted by this Court in full.

      Specifically, the Magistrate Judge correctly determined based on the

evidence and arguments supplied by Defendants that Plaintiff “was actually

employed by TCGE” and that TCGE, as Plaintiff’s “‘real’ employer,” is a

necessary party to the Plaintiff’s “workplace claims” at issue in this case. Doc. 53,

p. 9. As Plaintiff’s actual employer, TCGE is a necessary party to both Plaintiff’s

Fair Labor Standards Act (“FLSA”) and North Carolina Wage and Hour Act

(“NCWHA”) claims for multiple reasons, including those first stated in

Defendants’ opening brief and recognized by the Fourth Circuit in Yashenko v.

Harrah’s NC Casino Co., LLC, 446 F.3d 541, 552 (4th Cir. 2006) – a case cited

and discussed in Defendants’ opening brief and in the Magistrate Judge’s

Memorandum and Recommendation. Doc. 34-1, p. 16; Doc. 53, pp. 6-7.

      First, complete relief cannot be afforded without involving TCGE in this

lawsuit, because a judgment in Plaintiff’s favor would only bind Plaintiff and

Defendants Harrah’s and Robinson, and would not bind Plaintiff’s actual



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employer, TCGE, or prohibit TCGE from continuing to implement the allegedly

offending payroll policies and practices. Doc. 34-1, p. 16; Yashenko, 446 F.3d at

552-553. Moreover, any judgment on Plaintiff’s claims would threaten to impair

TCGE’s contractual interests, and thus, its fundamental economic relationship with

Defendant Harrah’s, a private party, as well as its sovereign capacity to negotiate

contracts and to govern the reservation and its two Tribal Casinos at issue in this

case. Doc. 34-1, pp. 13-16; Yashenko, 446 F.3d at 553. Additionally, any

disposition in TCGE’s absence threatens to leave Defendants subject to substantial

risk of incurring multiple or inconsistent obligations, in that TCGE may insist

Defendants continue with the allegedly offending payroll policies and practices at

the Tribal Casinos but Defendants may simultaneously be obligated by the

judgment to alter or change the allegedly offending payroll policies and practices.

See id. Despite this consistent record and the controlling authority directing the

conclusion that TCGE is a necessary party, Plaintiff inaccurately contends any




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articulated interests of TCGE are too “vague” to be considered and therefore,

TCGE is not a necessary party to this litigation. Doc. 55, p. 3.1

       Furthermore, contrary to Plaintiff’s reading of the Memorandum and

Recommendation, the Magistrate Judge did, in fact, acknowledge and consider all

the pertinent factors that are generally balanced in a Rule 19(b) analysis, but

critically, he correctly determined that no such balancing analysis is necessary

where, as is the case here, the party to be joined is protected by tribal sovereign

immunity. Doc. 53, pp. 10-12. Plaintiff conveniently ignores this portion of the

Memorandum and Recommendation and fails to explain how it constitutes error.

       Plaintiff is essentially advancing the same unsuccessful arguments from his

initial response in opposition to Defendants’ Rule 12(b)(7) motion. Plaintiff’s

arguments are not addressed to the Magistrate Judge’s proposed factual and legal

conclusions, but to the arguments in Defendants’ opening brief. As before,

Plaintiff belabors the various general Rule 19(b) factors purportedly unsatisfied



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 It should be noted that Plaintiff does not clearly delineate his arguments as they pertain to Rule
19(a) necessary party issues and Rule 19(b) indispensable party issues. At times, Plaintiff
appears to conflate or confuse the elements of these two prongs and their various sub-prongs or
sub-factors.

It should also be noted that Plaintiff’s anemic “waiver” arguments should be rejected out of
hand, both because Defendants, in fact, sufficiently raised and briefed the issue and because this
Court and the Magistrate Judge may consider Rule 19 issues sua sponte even if not sufficiently
raised by the parties. See, e.g., MasterCard Intern. Inc. v. Visa Intern. Service Ass’n, Inc., 471
F.3d 377, 382-383 (2nd Cir. 2006) (collecting cases); also Provident Tradesmens Bank & Trust
Co. v. Patterson, 390 U.S. 102, 111 (1968) (instructing courts to take steps on their own
initiative to protect an absentee party).


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instead of addressing his objection to the Magistrate Judge’s finding that TCGE’s

sovereign status is the most “compelling factor” warranting Rule 12(b)(7) and 19

dismissal. Moreover, even if such factors are balanced in this case, TCGE

qualifies as an indispensable party for the reasons set forth below.

           RELEVANT PROCEDURAL BACKGROUND AND FACTS

      The pertinent procedural background and facts are adequately summarized

for purposes of this Response in the Memorandum and Recommendation, Doc. 53,

pp. 1-3, and in Defendants’ Limited Objections to the Magistrate Judge’s

Memorandum and Recommendation, Doc. 54, pp. 1-6. Therefore, for the sake of

brevity and efficiency, they are not repeated again in this Response.

                                   ARGUMENT

      1.     STANDARD OF REVIEW

      If a party timely objects to a magistrate judge’s proposed findings and

recommendations, a district court must make a de novo determination of the

specific portions to which an objection is made. Fed. R. Civ. P. 72(b)(3); 28

U.S.C. § 636(b)(1). “The Court is not required to review, under a de novo or any

other standard, the factual or legal conclusions of the magistrate judge to which no

objections have been raised.” Madewell v. Harrah’s Cherokee Smokey Mountains

Casino, 730 F. Supp.2d 485, 487 (W.D.N.C. 2010). “The district judge may

accept, reject or modify the recommended disposition; receive further evidence; or



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return the matter to the magistrate judge with instructions.” Fed. R. Civ. P.

72(b)(3); 28 U.S.C. § 636(b)(1).

      2.     DEFENDANTS HAVE IDENTIFIED THE INTERESTS OF
             TCGE THREATENED TO BE IMPAIRED OR ADVERSLEY
             AFFECTED BY THIS LITIGATION WHICH THE
             MAGISTRATE JUDGE CORRECTLY ADOPTED.

      Plaintiff argues that he “has never been given an opportunity to address the

purported interests [of TCGE] because they have not been identified.” Doc. 55, p.

3. Plaintiff claims that the interests cited are too “vague” to be “actionable under

Rule 19.” Doc. 55, p. 10. In their opening brief and reply, however, Defendants

articulated the interests that would be impaired or adversely affected in TCGE’s

absence, relying on the declaration of Jo Ray, Regional Vice President of Human

Resources and Community Relations for TCGE. The Magistrate Judge correctly

adopted the undisputed facts set forth in Ms. Ray’s declaration and Defendants’

briefing into his proposed findings:

      EBCI has a Management Agreement with Defendant Harrah’s to
      oversee both the management and operations of the two casinos located
      on EBCI Indian Reservation lands. Defendant Harrah’s has one
      employee working on the casino property to facilitate the management
      services it provides to EBCI. EBCI has expressly delegated its
      obligations and rights under the Management Agreement to TCGE.

      Plaintiff was employed by TCGE as a table games dealers, dual rate
      dealer, and floor supervisor at the two tribal casinos. Plaintiff was
      subject to the rules and regulations of the Cherokee Tribal Gaming
      Commission during this employment. Plaintiff’s employment with




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      TCGE was conditioned on his passing a background check performed
      by the Cherokee Tribal Gaming Commission.

Doc. 53, p. 8 (internal citations omitted).

      Based on these facts, the Magistrate Judge correctly concluded that, under

each Rule 19(a) factor, TCGE is a necessary party to this litigation alleging that

Plaintiff has not received sufficient wages for his work as a TCGE employee. At

bottom, his finding was supported by the fact that “Plaintiff was actually employed

by TCGE” and that Plaintiff’s Amended Complaint advances, in essence,

“workplace claims.” Doc. 53, p. 9. While Plaintiff might have hoped for a longer

dissertation on this point, he overlooks the Magistrate Judge’s detailed discussion

of Yashenko v. Harrah’s NC Casino Co., LLC, 446 F.3d 541 (4th Cir. 2006),

which, in effect, analogizes the instant facts and circumstances with the findings

adopted by the Fourth Circuit in Yashenko:

      . . . The Eastern Band of Cherokee Indians (“EBCI”) entered into a
      Management Agreement with the defendant concerning EBCI’s
      gaming enterprise. Pursuant to the Agreement, the defendant worked
      as a manager for EBCI’s delegate, TCGE. All employees hired by the
      defendant to staff the casino were considered employees of TCGE, even
      though the defendant maintained supervisory authority over them.

Doc. 53, p. 7 (internal citations omitted).

      The Fourth Circuit in Yashenko concluded that TCGE was a necessary party

under Rule 19(a) to a suit against Defendant Harrah’s, because of the threat of

impairment of TCGE’s contractual interests and economic relationships with



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Defendant Harrah’s, as well as the threat of impairment of TCGE’s capacity to

“negotiate contracts, and, in general, to govern the reservation.” Yashenko, 446

F.3d at 552-553 (internal quotation marks omitted); see also Dawavendewa v. Salt

River Project Agr. Imp. And Power Dist., 276 F.3d 1150, 1156-1157 (9th Cir.

2002) (an Indian Tribe is a necessary party to any dispute that may affect its

contract with a third-party). Plaintiff’s misreading of the Memorandum and

Recommendation completely misses that the Magistrate Judge adopted this same

reasoning in his determination that TCGE is a necessary party to this case under

Rule 19(a).

      Given Defendants’ and the Magistrate Judge’s principal reliance on

Yashenko, Plaintiff’s claim that Defendants (and by extension, the Magistrate

Judge) gave insufficient treatment to the Rule 19(a) analysis is incorrect.

Moreover, Plaintiff’s attempt to distinguish Yashenko on the ground that the Fourth

Circuit’s analysis took place in the context of a Section 1981 claim is not well-

taken. Plaintiff selectively quotes the following passage from Yashenko: “[A]ny

judgment entered into without joining the Tribe would be inadequate because it

would bind only [plaintiff] and Harrah’s; the Tribe would remain free to enforce




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the tribal preference policy [violative of Section 1981] on its reservation and

through its contractual relations.” 446 F.3d at 553.

         Not only does Plaintiff omit the Fourth Circuit’s discussion of the other

pertinent Rule 19(a) factors (which are dispositive there, and here), but the above

excerpt is nevertheless consistent with the instant case insofar that a judgment

against Defendants would leave TCGE, as the ultimate employer, free to

promulgate or sanction policies allegedly in violation of the FLSA and NCWHA,

or alternatively, to force Defendants to adhere to such allegedly unlawful policies.

That the plaintiff sought relief under 42 U.S.C. § 1981 in Yashenko was immaterial

to the court’s Rule 19 analysis, except to the extent that it was a cause of action

against an employer. This same reasoning has been applied to causes of action

other than Section 1981 claims potentially involving the rights and interests of

Indian Tribes. See, e.g., Dawavendewa, 276 F.3d at 1155-1156 (collecting cases).

Accordingly, Yashenko is not distinguishable and, in fact, controls the outcome

here.

         The other cases on which Plaintiff relies are inapposite, and are not binding

on this Court.2 Either way, they are unpersuasive.3 In MasterCard Intl. Inc. v.



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  Neither are these cases persuasive to the extent they are inconsistent with Fourth Circuit
binding precedent in Yashenko.
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  Plaintiff cites a number of cases from other jurisdictions supporting general legal propositions,
but does not provide further context. To the extent Plaintiff relies on a case for its facts,
Defendants will address it.


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Visa Intl. Serv. Assn., Inc., 471 F.3d 377 (2d Cir. 2006), the Second Circuit held

that even though the absent party could be adversely affected by the outcome of

the litigation, the harm it might suffer was not actually “caused” by its absence,

which the court defined as “the future impact of a third-party’s rights under a

separate contract.” Id. at 386. Here, by contrast, the principal interest threatened

by the litigation is not TCGE’s contract with Defendant Harrah’s (although it will

be impaired), but rather TCGE’s general autonomy as a sovereign tribal entity. In

other words, if Plaintiff obtains a judgment in this case that requires the payment of

back wages and altering of payroll policies at the Tribal Casinos going forward, it

will be TCGE – the sovereign – that will bear the burden of that result as Plaintiff’s

employer – even though it is a sovereign entity that at least generally has the right

to govern the reservation and negotiate contracts relating to the operation and

management of the Tribal Casinos. Accordingly, TCGE clearly qualifies as a

necessary party.

      Another point missed by Plaintiff is that he was in actual privity with TCGE

(his employer), not Defendants. This fact plainly underscores the interest that will

be impaired, as the entire subject matter of the litigation is Plaintiff’s employment

relationship with TCGE. The situation is akin to one where the absent party is a

party to a contract which is the subject of the litigation, a scenario discussed at

length in MasterCard, supra. and in which it is generally held that the absent party



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is, in fact, a necessary and indispensable party to the litigation. See, e.g.,

Dawavendewa, 276 F.3d at 1156-1157 (a party to a contract is a necessary and

indispensable party to a lawsuit that could affect its rights or interests under that

contract); Crouse-Hinds Co. v. InterNorth, Inc., 634 F.2d 690, 700-701 (2d Cir.

1980) (the presence of a party to a contract whose contractual rights or interests

may be affected by the judgment sought in the action is necessary and required);

Skokomish Indian Tribe v. Goldmark, 994 F. Supp.2d 1168 (W.D. Wash. 2014)

(other signatory Indian Tribes to Treaty were necessary and indispensable parties

to case that would potentially impair or impact the Treaty).

      Plaintiff’s reliance on GAA Family Limited Partnership v. Southeast

Restoration, Inc., 2017 WL 2261739 (S.D. W.Va. May 23, 2017) is similarly

misplaced. There, the plaintiff-landlord entered into an agreement with a

contractor for building repairs. Although the tenant (the alleged “necessary party”)

also signed the agreement, the court held that the landlord’s “allegations suggest

that it . . . is the only entity responsible for paying the invoice [per the agreement]”

and thus the court could not discern how the tenant’s alleged interests would be

impaired by the litigation, nor was it “explain[ed] what those interests may be.” Id.

at *2. Here, TCGE is not a mere signatory to an agreement; rather, TCGE is the

party who will be obligated, as Plaintiff’s employer, to pay any judgment relating




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to allegedly unpaid and owed wages and to make any potentially required changes

to its payroll policies and practices going forward.

      Furthermore, as recited in Defendants’ previous submissions and adopted in

the Memorandum and Recommendation, and as discussed more fully below,

Defendants have articulated numerous, concrete ways in which TCGE’s interests

would be adversely affected or impacted by this litigation. In any event, Plaintiff’s

insistence that Defendants have failed to specifically catalogue every interest

impaired, and how they may be impaired, is beside the point: Under Rule 19(a),

the court is permitted “to draw reasonable, pragmatic inferences from the particular

circumstances in the case to protect the absent party.” Picciotto v. Continental

Cas. Co., 512 F.3d 9, 17 (1st Cir. 2008).

      3.     PLAINTIFF FAILS TO ADDRESS THE MAGISTRATE
             JUDGE’S FINDING THAT TCGE’S SOVEREIGN STATUS IS
             THE MOST COMPELLING FACTOR WARRANTING
             DISMISSAL UNDER RULE 19(b).

      In his Objection, Plaintiff argues that the Magistrate Judge glossed over the

applicable factors under Rule 19(b) in determining that TCGE is an indispensable

party. Doc. 55, pp. 5-6. Plaintiff relies on Provident Tradesman Bank & Trust Co.

v. Patterson, 390 U.S. 102 (1968) for the proposition that the court must apply a




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four-factor test to determine if Rule 19(b) dismissal is appropriate.4 He claims that

neither Defendants, nor the Magistrate Judge, adequately addressed any of these

factors. Doc. 55, p. 6.

         Defendants do not dispute that Provident Tradesman generally controls Rule

19(b) analyses. However, more recent decisions have clarified the scope and

purpose of the Rule 19(b) analysis: “[T]he inquiry is a practical one and fact

specific, and is designed to avoid the harsh results of rigid application.”

Confederate Tribes of Chehalis Indian Reservation v. Lujan, 928 F.2d 1496, 1506

(9th Cir. 1991) (citing Makah Indian Tribe v. Verity, 910 F.2d 555, 558 (9th Cir.

1990). The Rule 19(b) factors are thus “not rigid tests, but rather are guides to the

overarching ‘equity and good conscience’ determination.” Whalen v. Carter, 954

F.2d 1087, 1096 (5th Cir. 1992).


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    Plaintiff quotes the following passage from Provident Tradesman:

         Rule 19(b) suggests four “interests” that must be examined in each case to
         determine whether, in equity and good conscience, the court should proceed
         without a party whose absence from the litigation is compelled . . . First, the
         plaintiff has an interest in having a forum. Before the trial, the strength of this
         interest obviously depends upon whether a satisfactory alternative forum exists . .
         . Second, the defendant may properly wish to avoid multiple litigation, or
         inconsistent relief, or sole responsibility for a liability he shares with another . . .
         Third, there is the interest of the outsider whom it would have been desirable to
         join . . . Fourth, there remains the interest of the courts and the public in complete,
         consistent, and efficient settlement of controversies . . . Rule 19(b) also directs a
         district court to consider the possibility of shaping relief to accommodate these four
         interests. Commentators had argued that greater attention should be paid to this
         potential solution to a joinder stymie, and the Rule now makes it.

Id. at 109-112. However, Plaintiff’s analysis does not cleave to this factors.


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      Consistent with these principles, and as recognized by the Magistrate Judge,

TCGE’s status as a tribal sovereign entity, along with its interest in maintaining its

sovereign immunity, outweighs the other pertinent Rule 19(b) factors to the extent

they might favor Plaintiff. Indeed, the rigid application of the general rules

Plaintiff urges here is inappropriate where the “the necessary party is immune from

suit.” In such cases, there is “very little need for balancing Rule 19(b) factors

because immunity itself may be viewed as the compelling factor.” White v. Univ.

of California, 765 F.3d 1010, 1028 (9th Cir. 2014) (internal quotation marks

omitted) (collecting cases and stating “[a]s the district court correctly noted,

‘virtually all the cases to consider the question appear to dismiss under Rule 19,

regardless of whether a remedy is available, if the absent parties are Indian tribes

invested with sovereign immunity’”); Kescoli v. Babbitt, 101 F.3d 1304, 1311 (9th

Cir. 1996); Enter. Mgmt. Consultants, Inc. v. U.S ex. rel. Hodel, 883 F.2d 890, 894

(10th Cir. 1989).

      The Magistrate Judge thus correctly shifted the Rule 19(b) inquiry to

TCGE’s undisputed status as a tribal sovereign, as it is the most “compelling

factor” warranting Rule 19(b) dismissal. Plaintiff, by sleight of hand, frames his

objection to the Memorandum and Recommendation as an improper relegation of

the Rule 19(b) analysis to a simple, conclusory finding. Having sidestepped the

issue of TCGE’s sovereign immunity, Plaintiff instead undertakes a routine



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recitation of the Rule 19(b) factors under Provident Tradesmen ignoring the

controlling immunity factor, in effect merely rehashing the unsuccessful arguments

from his initial opposition brief.

      4.     DEFENDANTS HAVE NONETHELESS ESTABLISHED THAT
             TCGE IS AN INDISPENSABLE PARTY UNDER RULE 19(b).

      Lest there be any doubt about White, Kescoli, and Hodel, supra, Defendants

have still demonstrated that TCGE is an indispensable party in this action under the

factors set forth in Provident Tradesmen.

      First, there is a tribal forum which should have the first opportunity to

determine whether it has jurisdiction over Plaintiff’s claims. See, e.g., Fidelity &

Guaranty Ins. Co. v. Bradley, 212 F. Supp.2d 163, 165-166 (W.D.N.C. 2002)

(recognizing the existence of the Cherokee Tribal Court and concluding that it

“clearly has jurisdiction over the dispute at issue; a dispute between a non-Indian

which entered into a consensual contractual relationship with an Indian” –

similarly this is at bottom a dispute about the wages allegedly owed to Plaintiff by

his employer, a tribal enterprise, over which the Cherokee Court has jurisdiction);

Madewell v. Harrah’s Cherokee Smokey Mountains Casino, 730 F. Supp.2d 485

(W.D.N.C. 2010) (recognizing the existence of the Cherokee Court); Harrington v.

Little Traverse Bay Bands of Odawa Indians, 2007 WL 6930560 (Little Traverse

Trib. Ct. Sept. 19, 2007), dismissed sub nom. Harrington v. Perry, 2010 WL

11240653 (Little Traverse C.A. Aug. 17, 2010) (example of a tribal court

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addressing FLSA claims by a former tribal employee). Plaintiff does not and

cannot dispute the availability of a tribal forum, but merely objects that the

Magistrate Judge failed to address the issue. See Doc. 55, p. 14.

      Second, both TCGE and the EBCI have a clear interest in this matter. An

adverse judgment in this case, for example, would prejudice the EBCI’s economic

interests in the Tribal Casinos and in the Management Agreement with Defendant

Harrah’s. The employment policies and practices concerning wage and hour issues

at the Tribal Casinos impact the economic performance of the Casinos, which in

turn impacts TCGE and the EBCI. The Management Agreement provides that the

purpose of the Tribal Casinos is to enhance the economic viability of the EBCI.

Doc. 39-1, § 1.2. Courts recognize casinos that are owned and operated by an

Indian tribe are arms of the tribe, and “there is no question that [the] economic and

other advantages [provided by the casino] inure to the benefit of the Tribe.” Allen

v. Gold Country Casino, 464 F.3d 1044, 1047 (9th Cir. 2006); Madewell, 730 F.

Supp.2d at 489 (recognizing that the operation and management of the very same

casinos at issue here implicates the economic interests and welfare of the EBCI).

      Third, as discussed above, TCGE’s absence would impair its contractual

interest because its contractual interests are directly implicated; the Management

Agreement specifically provides that the Board of Advisors of TCGE must

approve all personnel policies and procedures and that the policies must comply



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with applicable Tribal law. Doc. 39-1, § 4.18. Any judgment related to such

polices, which must be reviewed and approved by the Board of Advisors, would, in

the absence of TCGE as a party, “threaten to impair the Tribe’s contractual

interests, and thus, its fundamental economic relationship with” Defendants, as

well as its general right to govern activities in the Tribal Casinos. Yashenko, 446

F.3d at 553.

       Fourth, any judgment rendered in the absence of TCGE would prejudice

Defendants because it would hinder their ability to resolve their contractual

obligations with TCGE and would also subject Defendants to inconsistent

obligations. Because it is not a party to this litigation, the TCGE (and the EBCI)

will not be bound by whatever judgment might be rendered. Accordingly, a

judgment in this case finding the employment policies and practices at issue

unlawful would not prevent TCGE from requiring Defendants to adhere to those

employment policies, since TCGE would not be bound by the decision of this

Court. As explained above, the Management Agreement requires that the TCGE

Board of Advisors approve all personnel policies and procedures, such that the

Board of Advisors may require Harrah’s adhere to certain policies that contradict

any judgment rendered here.

      Obviously, if TCGE were a party to this litigation, it would be required to

present any theories and arguments as to why its employment policies and



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procedures are lawful. Its failure to do so would result in waiver, and TCGE

would be just as bound as Defendants by the judgment in this case. Defendants

would then not face a risk of inconsistent obligations. However, because TCGE is

not joined and cannot be joined as a party, and will therefore not be bound by any

resulting judgment, the risk that Defendants will face inconsistent obligations is

real and substantial.

       On this point, Plaintiff argues that because the FLSA imposes joint and

several liability, Plaintiff may be afforded full relief from Defendants in TCGE’s

absence.5 While Plaintiff may be correct about Defendants’ joint and several

liability, it does not foreclose the possibility that Defendants may nonetheless face

inconsistent obligations, not as between TCGE and Defendants by way of

indemnity (as Plaintiff suggests), but because a judgment in this case finding the

employment policies at issue unlawful would not prevent TCGE from requiring

Defendants to adhere to those employment policies, since the Tribe would not be

bound. See Confederated Tribes of Chehalis Indian Reservation v. Lujan, 928 F.2d

1496, 1498 (9th Cir. 1991) (“Judgment against the [nominal party] would not be

binding on the [tribe], which could continue to assert sovereign powers and




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 Plaintiff advances this argument in the context of whether failing to join TCGE would risk
Defendants facing inconsistent obligations. However, this argument really speaks to Rule
19(a)(1)(A). Defendants recognize that the issues are related, but this is one of many instances
where Plaintiff conflates distinct prongs of Rule 19.


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management responsibilities over the reservation”); Dawavendewa v. Salt River

Project Agr. Imp. & Power Dist., 276 F.3d 1150, 1115 (9th Cir. 2002) (“The [tribe]

could still attempt to enforce the lease provision in tribal court and ultimately, even

attempt to terminate [plaintiff’s] rights on the reservation”).

      Put simply, the apportionment of fault between TCGE and Defendants is

irrelevant as to whether conflicting or inconsistent obligations may arise by failing

to join TCGE. Plaintiff’s argument also misapprehends controlling authority on

this issue which holds that complete relief may be afforded a plaintiff only in cases

where the judgment may bind the tribe. See Alto v. Black, 738 F.3d 1111, 1127

(9th Cir. 2013) (“We may assume that the [tribe] may abide by the [nominal

party’s] decision, as it is committed by its own Constitution to do . . . .”). Once

again, Plaintiff relies on Alto to demonstrate that TCGE is not an indispensable

party, when in fact, Alto supports Defendants’ position, as there is no way any

judgment against Defendants would bind TCGE.

      Finally, this Court cannot fashion a remedy so as to accommodate these

varying and competing interests due to TCGE’s inherent interest in the matter and

Defendants’ risk of being subject to inconsistent obligations. Thus, Rule 19

mandates that TCGE is both a necessary and indispensable party. Tribal sovereign

immunity prohibits its joinder, requiring dismissal as properly recommended by

the Magistrate Judge.



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                                  CONCLUSION

      For each of the foregoing reasons and for the reasons set forth in the

Magistrate Judge’s Memorandum and Recommendation itself, the Court should

overrule or deny Plaintiff’s Objection, and accept and adopt in full the portions of

the Magistrate Judge’s Memorandum and Recommendation finding that TCGE is a

necessary and indispensable party to this lawsuit that cannot be joined, and

recommending that Harrah’s Motion to Dismiss under Rule 12(b)(7) be granted.

      This the 25th day of May, 2018.

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                           CERTIFICATE OF SERVICE

        The undersigned attorney hereby certifies that he electronically filed the

foregoing Defendants’ Response to Plaintiff’s Objection to the Magistrate Judge’s

Memorandum and Recommendation with the Clerk of Court using the CM/ECF

system and he served the foregoing document upon the attorneys shown below by

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